
694 So.2d 888 (1997)
M.J., mother, Appellant,
v.
A.B., father, Appellee.
No. 96-01107.
District Court of Appeal of Florida, Second District.
June 13, 1997.
J. Juanell Linkous, Tampa, for Appellant.
Pedro G. Velez, Jr., Tampa, for Appellee.
PER CURIAM.
We affirm the trial court's judgment establishing paternity in this action, which also awarded shared parental responsibility and provided visitation rights for the father's parents. The trial court determined that it was in the best interest of the parties' seven-year-old daughter to have grandparental visitation with the father's parents so that the child could visit her father at a Florida prison. See § 61.13(2)(b)2.c., Fla. Stat. (1995). Our record lacks a transcript of the hearing and does not provide a basis to reverse the trial court's decision. Our affirmance does not preclude the mother from seeking a modification of the visitation schedule should the visits prove traumatic to the child.
Affirmed.
PATTERSON, A.C.J., and ALTENBERND and FULMER, JJ., concur.
